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                                                                          2023 Oct-19 PM 01:43
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                            Exhibit List

A.    Exhibit A, Administrative Remedy Request 1000103;

B.    Exhibit B, September 26, 2023 Sentry Report;

C.    Exhibit C, Declaration of Renee McPherson;

D.    Exhibit D, Administrative Remedy Request 1033708;

E.    Exhibit E, Administrative Remedy Request 1124671;

F.    Exhibit F, Plaintiff Medical Records 2016-2022 (Filed separately
      under seal);

G.    Exhibit G, Declaration of Sharon Bailey, R.N.;

H.    Exhibit H, Declaration of Dr. Xinyu Li, M.D.;

I.    Exhibit I, Declaration of Dr. Richard Griffin, M.D.
